        Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 1 of 9 PageID #:1



                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DISTRICT

DAVID STAMER, on behalf of himself and                     Case No.
all others similarly situated

                    Plaintiff,
                                                             CLASS ACTION COMPLAINT FOR
v.                                                           VIOLATIONS OF THE TELEPHONE
                                                              CONSUMER PROTECTION ACT
DYNAMIC RECOVERY SOLUTIONS, LLC
c/o National Registered Agents, Inc.
208 S. LaSalle Street, Suite 814
Chicago, IL 60604
                                                           Jury Demand Requested
                      Defendant.


Now comes Plaintiff, by and through his attorneys, on behalf of himself and all others similarly

situated, and brings this action against Dynamic Recovery Solutions, LLC (“Dynamic”) for

damages, and other legal and equitable remedies from the violations of the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., and alleges as follows:

                                    JURISDICTION AND VENUE

     1- This Court has jurisdiction under 28 U.S.C. §1331, 28 U.S.C. §1337, and 47 U.S.C. §227

         (“TCPA”).

     2- Venue in this District is proper because: (a) the acts and transactions occurred here; (b)

         Plaintiff resides here; and (c) Defendant transacts business here.

                                               PARTIES

     3- Plaintiff is a resident of the State of the Illinois, who resides in this district.

     4- Defendant is a corporation with its principal office in the State of South Carolina.

     5- Defendant is authorized to conduct business in the State of Illinois, and actually does

         transact business in the State of Illinois.




                                                       1
  Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 2 of 9 PageID #:2



6- According to its website, Dynamic, “[w]ith more than 50 combined years in the accounts

   receivables industry, […is…] professionally staffed to provide nationwide consumer and

   commercial collection services to organizations including Banking, Student Loans, Heath

   Care, Retail, Telecommunications, Utilities, Legal, and Real Estate. Our strong track

   record in the late stage market, continued investment into the latest Technology and

   Analytics, and our commitment to quality, has positioned DRS as leader in receivables

   management outsource solutions.”

7- “Dynamic uses the hosted LiveVox dialing platform for all predictive and manual calls.”

   Id.

                 THE TELEPHONE CONSUMER PROTECTION
                     ACT OF 1991 (TCPA), 47 U.S.C. § 227

8- In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C. § 227

   (“TCPA”), in response to a growing number of consumer complaints regarding certain

   telemarketing practices.

9- The TCPA regulates, among other things, the use of automated telephone equipment, or

   “auto-dialers.” Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits the

   use of auto-dialers to make any call to a wireless number in the absence of an emergency

   or the prior express consent of the called party.

10- According to findings by the Federal Communication Commission (“FCC”), the agency

   Congress vested with authority to issue regulations implementing the TCPA, such calls

   are prohibited because, as Congress found, automated or prerecorded telephone calls are

   a greater nuisance and invasion of privacy than live solicitation calls, and such calls can

   be costly and inconvenient. The FCC also recognized that wireless customers are charged

   for incoming calls whether they pay in advance or after the minutes are used.




                                             2
   Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 3 of 9 PageID #:3



11- On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed that

    autodialed and prerecorded message calls to a wireless number by a creditor (or on behalf

    of a creditor) are permitted only if the calls are made with the “prior express consent” of

    the called party. The FCC “emphasize[d] that prior express consent is deemed to be

    granted only if the wireless number was provided by the consumer to the creditor, and

    that such number was provided during the transaction that resulted in the debt owed.”

12- Moreover, the FCC has since affirmed its prior findings that a dialer which uses

    predictive dialing with the capacity to make calls without human intervention is an auto-

    dialer under the TCPA. In the Matter of Rules and Regulations Implementing the

    Telephone Consumer Protection Act of 1991, FCC 15-72 (July 10, 2015) at ¶ 10; see also

    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,

    2003 TCPA Order, 18 FCC 14014 at ¶132 (finding that "the purpose of the requirement

    that equipment have the capacity to store or produce telephone numbers to be called is to

    ensure that the prohibition on autodialed calls not be circumvented.").

                                           FACTS

13- At all times relevant, Plaintiff was an individual residing in the State of Illinois. Plaintiff

    is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C. § 153(10).

14- Plaintiff did not list his cellular phone number in or on any documents provided to

    Defendant, nor did he verbally provide his phone number to or consent to any calls on his

    cellular phone by Defendant.

15- Defendant is, and at all times mentioned herein was, a corporation and a “person”, as

    defined by 47 U.S.C. § 153(10).




                                               3
   Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 4 of 9 PageID #:4



16- Notwithstanding the fact Plaintiff did not provide Defendant with his cellular number,

   Defendant contacted Plaintiff on Plaintiff’s cellular telephone. Plaintiff received

   numerous calls on his cellular phone in or around July 2015.

17- Defendant left at least one automated message on Plaintiff’s cellular telephone.

18- Dynamic’s Predictive Dialer is capable of delivering an automated prerecorded message.

   On information and belief, all telephone contact by Defendant to Plaintiff on his cellular

   telephone occurred via an “automatic telephone dialing system,” as defined by 47 U.S.C.

   § 227(a)(1), and all calls that are the subject of this complaint occurred within four years

   of the filing of this complaint.

19- The telephone number at which Defendant contacted Plaintiff, with an “automatic

   telephone dialing system,” was assigned to a cellular telephone service as specified in 47

   U.S.C. § 227(b)(1)(A)(iii).

20- The telephone calls placed by Defendant to Plaintiff’s cellular telephone via the

   “automatic telephone dialing system” used “an artificial or prerecorded voice” as defined

   in 47 U.S.C. § 227(b)(1)(A).

21- The complained of telephone calls constituted calls not for emergency purposes as

   defined by 47 U.S.C. § 227(b)(1)(A)(i).

22- Plaintiff did not provide “express consent” allowing Defendant to place telephone calls to

   Plaintiff’s cellular phone utilizing an “automatic telephone dialing system,” within the

   meaning of 47 U.S.C. § 227(b)(1)(A).

23- Defendant did not make telephone calls to Plaintiff’s cellular phone “for emergency

   purposes” utilizing an “artificial or prerecorded voice” or placed by an “automatic

   telephone dialing system,” as described in 47 U.S.C. § 227(b)(1)(A).




                                             4
   Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 5 of 9 PageID #:5



24- Defendant’s telephone calls to Plaintiff’s cellular phone were placed by an “automatic

   telephone dialing system” for non-emergency purposes and in the absence of Plaintiff’s

   prior express consent violated 47 U.S.C. § 227(b)(1)(A).

25- Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the burden

   is on Defendant to demonstrate that Plaintiff provided express consent within the

   meaning of the statute, because it is the best entity to determine how numbers were

   attained.

                       COUNT I - TCPA (CELLULAR CALLS)

26- Plaintiff incorporates the above factual allegations herein.

27- Defendant made automated telephone calls to the wireless telephone numbers of Plaintiff

   and the other members of the class using equipment that, upon information and belief,

   had the capacity to store or produce telephone numbers to be called, using a random or

   sequential number generator.

28- These phone calls were made without the prior express consent of Plaintiff or the class.

29- Defendant has therefore violated the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii), which makes

   it unlawful for any person within the United States . . . to make any call (other than a call

   made for emergency purposes or made with the prior express consent of the called party)

   using any automatic telephone dialing system or an artificial or prerecorded voice . . .”

   As a result of Defendant’s illegal conduct, the members of the class suffered actual

   damages and, under section 227(b)(3)(B), are each entitled to, inter alia, a minimum of

   $500.00 in damages for each such violation of the TCPA.

30- Because Defendant’s misconduct was willful and knowing, the Court should pursuant to

   section 227(b)(3)(C), treble the amount of statutory damages recoverable by the Plaintiff

   and the class.




                                              5
   Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 6 of 9 PageID #:6



31- Plaintiff and class members are entitled to and do seek injunctive relief prohibiting

   Defendant’s violation of the TCPA in the future.

32- Plaintiff and the class members are entitled to an award of attorneys’ costs and fees.

                                CLASS ALLEGATIONS

33- Plaintiff proposes the following class definition, subject to amendment as appropriate:

   (1) all persons within the United States (2) who, on or after May 25, 2012 and on
   or before May 25, 2016 (3) received a non-emergency telephone call from
   Defendant to a cellular telephone through the use of an automatic telephone
   dialing system or an artificial or prerecorded voice and (4) where Defendant’s
   records do not show that the person provided the number to the Defendant or the
   original creditor (for example, where the number was obtained through skip
   tracing or captured by the Defendant’s equipment from an inbound call).

34- Plaintiff does not know the exact number of members in the Class, but based upon the

   representations of Defendant, Plaintiff reasonably believes that class members number at

   minimum in the tens of thousands. Certifying the class will be a more efficient method

   for handling the numerous claims.

35- Plaintiff and all members of the class have been harmed by the acts of Defendant by

   receiving automated and/or prerecorded messages, on their cellular telephones, placed by

   Defendant, without their express consent. A class action is the required method for

   disposing of the claims and ensuring that the class will not continue to suffer from the

   conduct alleged...

36- This Class Action Complaint seeks monetary damages and injunctive relief.

37- The joinder of all class members is impracticable due to the size of the class. The

   disposition of the claims in a class action will provide substantial benefit to the parties

   and the Court in avoiding a multiplicity of identical suits. The class can be identified

   easily through records maintained by Defendant.




                                              6
   Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 7 of 9 PageID #:7



38- There are questions of law and fact common to the members of the class, which common

   questions predominate over any questions that affect only individual class members.

   Those common questions of law and fact include, but are not limited to, the following:

       a- Whether, beginning on May 25, 2012, Defendant made nonemergency calls to

           Plaintiff and class members’ cellular telephones using an automatic telephone

           dialing system or an artificial or prerecorded voice;

       b- Whether Defendant can meet its burden of showing it obtained prior express

           consent (i.e., consent that is clearly and unmistakably stated), during the

           transaction that resulted in the debt owed, to make such calls;

       c- Whether Defendant’s conduct was knowing and/or willful;

       d- Whether Defendant is liable for damages, and the amount of such damages; and

       e- Whether Defendant should be enjoined from engaging in such conduct in the

           future.

39- As a person who received numerous and repeated telephone calls using an automatic

   telephone dialing system or an artificial or prerecorded voice, without his prior express

   consent within the meaning of the TCPA, Plaintiff asserts claims that are typical of each

   class member. Plaintiff will fairly and adequately represent and protect the interests of the

   class, and she has no interests which are antagonistic to any member of the class.

40- Plaintiff has retained counsel experienced in handling class action claims involving

   violations of federal and state consumer protection statutes such as the TCPA.

41- A class action is the superior method for the fair and efficient adjudication of this

   controversy. Class wide relief is essential to compel Defendant to comply with the

   TCPA. The interest of class members in individually controlling the prosecution of

   separate claims against Defendant is small because the statutory damages in an individual




                                              7
      Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 8 of 9 PageID #:8



       action for violation of the TCPA are small. Management of these claims is likely to

       present significantly fewer difficulties than are presented in many class claims because

       the calls at issue are all automated and the class members, by definition, did not provide

       the prior express consent required under the statute to authorize calls to their cellular

       telephones.

   42- Defendant has acted on grounds generally applicable to the class, thereby making final

       injunctive relief and corresponding declaratory relief with respect to the class as a whole

       appropriate. Moreover, on information and belief, Plaintiff alleges that the TCPA

       violations complained of herein are substantially likely to continue in the future if an

       injunction is not entered.

                                        JURY DEMAND

   43- Plaintiff demands a trial by jury.



WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and the class

members and against Defendant for:

          a- As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff

              seeks for himself and each Class member $500.00 in statutory damages for each

              and every call that violated the TCPA;

          b- As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.

              §227(b)(1), Plaintiff seeks for himself and each Class member treble damages, as

              provided by statute, of $1,500.00 for each and every call that violated the TCPA;

          c- Injunctive relief prohibiting such violations of the TCPA by Defendant in the

              future;

          d- An award of attorneys’ fees and costs to counsel for Plaintiff and the Class;




                                                 8
Case: 1:16-cv-05578 Document #: 1 Filed: 05/25/16 Page 9 of 9 PageID #:9



   e- An order certifying this action to be a proper class action pursuant to Federal Rule

       of Civil Procedure 23, establishing an appropriate Class and any Subclasses the

       Court deems appropriate, finding that Plaintiff is a proper representative of the

       Class, and appointing the lawyers and law firms representing Plaintiff as counsel

       for the Class; and

   f- Such other relief as the Court deems just and proper.



                                     RESPECTFULLY SUBMITTED,

                                     By: /s/ Richard J. Meier
                                     Richard J. Meier, Esq.
                                     MEIER LLC
                                     53 W. Jackson Boulevard, Suite 304
                                     Chicago, IL 60604
                                     Tel: (312) 242-1849
                                     Fax: (312) 242-1841
                                     richard@meierllc.com

                                     Shannon M. Geier, Esq.
                                     GEIER LAW LLC
                                     910 W. Van Buren St., Suite 2S
                                     Chicago, IL 60607
                                     Tel: (312) 837-3006
                                     Fax: (312) 829-3729
                                     sgeier@geierlawfirm.com

                                     Attorneys for Plaintiff and the Class




                                         9
